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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, §
Plaintiff, : Orig. Case No. 2:16-CR-00503-ER-1
V.
§
DINO PAOLUCCI, § HONORABLE EDWARDO C. ROBRENO
Defendant. § United States District Judge

MOTION FOR SENTENCING MODIFICATION
UNDER 18 USC SECTION 3582(c)(1)(A)

Now Comes Dino Paolucci. (Hereinafter Defendant), pro se, before this
honorable Court. Defendant humbly requests this Court GRANT him Sentencing
Modification pursuant to 18 USC §3582(c)(1)(A) and offers the following facts in
support of his motion:

INTRODUCTION

Defendant informs this Court that he is unskilled at the profession of law
and. therefore asks. that this Court recognize the standards set forth in

Hanes v. Kerner, 404 US 519 (1979), and not hold him to the rigid standards of a

professional litigaitor.

STATEMENT OF JURISDICTION

Jurisdiction is invoked pursuant to the First Step Act and 18 USC §3582
which allows an inmate to bring a request to "modify a term of imprisonment"
directly to a sentencing court, and that the judge need only determine if. there

are “extraordinary and compelling. reasons which warrant such a reduction."

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PROCEDURAL HISTORY

On December 13, 2018, Defendant was the subject of a twenty-six (26) count
indictment. On September 06, 2019, the Defendant pleaded Guilty to Counts 22-25:
Securities Fraud --in violation of 15 USC §§78(j)(b) and 78(f)(f). The remaining

counts were dropped pursuant to a written plea agreement.

On December 10, 2019, this Court adopted Defendant's Pre-sentence Report --
Total Offense Level 28; Criminal History Category I; Advisory Guidelines Range
78-97 months imprisonment. Defendant was sentenced to the lower end (31.5%) of

the Guidelines, 84 months in prison.
STANDARD OF REVIEW

A court may modify a term of imprisonment under only three specific
circumstances. First, “as permitted by statute or by Rule 35 of the Federal
Rules of Criminal Procedure" 18 U.S.C. $3582(c)(1)(B); also Fed. R. Crim. P. 35
(allowing a reduction in sentence upon a motion by the government based on
substantial assistance from the defendant or within fourteen days of the
sentence when there is a clear error in the sentence). Second, when the imposed
“term of imprisonment [is] based on a sentencing range that has subsequently
been lowered by the Sentencing Commission." 18 U.S.C. §3582(c)(2). And third, if
"extraordinary and compelling reasons warrant such a reduction" and the

reduction “is consistent with applicable policy statements issued by the

Sentencing Commission." 18 U.S.C. §3582(cl)(1) (A) sil’.

The applicable Sentencing Commission policy statement referenced in
§3582(c)(1D(A) is found at USSG §1B1.13 ("Reduction in Term of Imprisonment")
which provides that the Court may reduce a term of imprisonment if the Court

determines: 1) “extraordinary and compelling reasons warrant the reduction,"

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2) “the defendant is not a danger to the safety of any other person or to the
community, as provided in 18 U.S.C. §3142(g)," and 3) “the reduction jis
consistent with this policy statement." USSG §1B1.13.

POLICY STATEMENT USSG §1B1.13

Prior to 2018, "Extraordinary and Compelling" reasons for compassionate
release were limited to offenders who are elderly; terminally i11; or, unable to
perform self-care. That is no longer the case. In 2018, the First Step Act (FSA)
was passed and the courts have been given significant discretion in determining

what qualifies as an “Extraordinary and Compelling" reason for compassionate

release or modified sentence under 18 U.S.C. §3582(c)(1)(A).

Although The United States Sentencing Commission had specified some
extraordinary and compelling examples, its guidelines had not been amended to
reflect the changes made by the First Step Act. As such, many district courts
have concluded, and circuit court opinions have held, that guideline "$181.13 is
not an applicable policy statement in the context of defendant-filed motions."

United States v. Barksdale, 2021 U.S. Dist. LEXIS 49619 at 5 (E.D. PA. March 16,

2021); See also, United States v. McCoy, 981 F.3d 271, 281 (4th Cir. 2020); and,

United States v. Pollard, 2020 U.S. Dist. LEXIS 144383 (E.D. PA., Aug. 12, 2020)

(collecting district court cases in support).

In the absence of an applicable policy statement (2018 through November 01,
2023), "district courts [were] empowered to consider any extraordinary and
compelling reason for release that a defendant might raise[]" McCoy, Id. at 284;
and “exercise its discretion to define ‘extraordinary and compelling reasons'
[for compassionate releasej" Barksdale, Id. at 5 (E.D. PA. 2021). Based on this

authority, "nothing prevents the court from concluding that any combination of

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‘factors [] can together establish extraordinary and compelling reasons." See

United States v. Brown, 2022 U.S. Dist. LEXIS 120433 at 10-11 (W.D. PA. July 08,

2022)(citing United States v. Clauson, 2020 U.S. Dist. LEXIS 131070 (E.D. PA.

July 24, 2020)) (SAME).

On November 01, 2023, The United States Sentencing Commission issued its
amended guidelines which reflect the changes made by the 2018 First Step Act and
reinstate USSG §1B1.13 as an applicable policy statement. While the Sentencing
Commission (again) enumerates several extraordinary and compelling examples, the
Court retains its full discretion to consider, alone or altogether, §3553
factors and any other criteria it deems relevant. USSG §1B1.13. Reduction in
Term of Imprisonment Under 18 U.S.C. §3582(c)(1)(A) (November 01, 2023, Policy

Statement),

Defendant is not entitled to relief under 18 U.S.C. §3582(c)(1)(B) because

he did not offer the government “substantial assistance." Instead, Defendant
relies on 18 U.S.C §3582(c)(1)(A) and (c)(2), "extraordinary and compelling
reasons [which] warrant such a reduction" and "a sentencing range that has

subsequently been lowered by the Sentencing Commission." Id.
EXTRAORDINARY AND COMPELLING REASONS

"In General - Upon motion of the Director of the Bureau of Prisons of the
defendant under 18 U.S.C. §3582(c)(1)(A), the court may reduce a term of
imprisonment (and may impose a term of supervised release with or without
conditions that does not exceed the unserved portion of the original term of
imprisonment) if, after considering the factors set forth in 18 U.S.C. §3553(a),
to the extent that they are applicable, the court determines that (1)(A)

extraordinary and compelling reasons warrant the reduction ...

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Extraordinary and compelling reasons exist under any of the following

circumstances or combination thereof:

(1) Medical Circumstances of the Defendant [...]
(2) Age of the Defendant [...]

(3) Family Circumstances of the Defendant [...]
(4) Victim of Abuse [...]

(5)

OTHER REASONS: The defendant presents any other circumstance or
combination of circumstances that, when considered by themselves or
together with any of the reasons described in paragraphs (1) through
(4), are similar in gravity to those described in paragraphs (1)
through (4).

(6) Unusually Long Sentences."

See USSG §1B1.13. Reduction In Term of Imprisonment Under 18 USC §3582(c)(1)(A)

(November 01, 2023, Policy Statement) at (a) In General; and, (b) Extraordinary

and Compelling Reasons.

18 U.S.C. §3553 Factors

1. The nature and circumstances of the offense and the
history and characteristics of the defendant.

Nature and Circumstances of the Offense

From 2012 through 2013, Defendant participated in a scheme to manipulate
the stock of several public companies. This Court noted that, white there are
no identifiable victims and "restitution [] is not available in this case ..
this is a serious crime ... [that] involved a significant amount of money ..
Cand] undermined the public confidence on our. financial institutions[.]"

(Sentencing Transcripts, Pg. 15 and 68).

Defendant does not deny the seriousness of his offense, to which he Pleaded

Guilty and Accepted Responsibility.

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, History and Characteristics of the Defendant

Defendant was born August 21, 1977, and credits his parents with providing
him a loving home; regular family vacations; Catholic upbringing; access to
school and sports; and introduction to business -- Defendant's father has owned
DNR Technologies (a company that manufactures, sells and installs automotive
production lines) since 2002 and Defendant is a V.P. of Operations. Considering
his mostly privileged life, Defendant offers no excuse for his offense conduct.

Defendant has been humbled by this experience and prays that he be considered

for Sentencing Modification based on "any of the following circumstances or

combination thereof:" Id.

2. Need for the sentence to promote respect for the law and to
provide just punishment and rehabilitative opportunities. .

Respect For The Law and Just Punishment

This Court. noted that "the fact of imprisonment is as important and perhaps

more important as the Jength of imprisonment." (Sent. Tr., Pg. 68). In
Defendant's case, respect for the law and just punishment could be achieved by

reducing his term of imprisonment and imposing an alternative sentence, with or

without a term of Supervised Release, Home Confinement and GPS Monitoring.

Rehabilitative Opportunities

This Court noted that Defendant's "rehabilitation has to be measured ... by
subjective desire of being rehabilitated[;]" by his "objective conduct[;]" and,
by his willingness to "[return] ill-gotten gains through their rightful owners

or to the Government." (Sent. Tr., Pg. 71-72).

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Defendant's rehabilitation efforts are seen by his quiet service in the
church, the food pantry, and to the homeless and home-bound in his community.
See Father Petarca's testimony (Sent. Tr., Pg. 40-44). Unfortunately, the
current restrictions of Defendant's incarceration eliminate his ability to

fulfill his $2 Million Forfeiture obligation or to prove his "subjective desire"

with “objective conduct" and tangible results.

The Department of Justice (DOJ) and Bureau of Prisons (BOP) agree that “the
use of incarceration is being re-evaluated as compared to the social benefits of
non-custodial rehabilitative programs[]" and that home confinement is "a time of

testing and an opportunity for inmates to assume increasing Jevels of. personal

responsibility while: providing sufficient restriction to promote community
safety and continue the sanction on the sentence." United States Department of

Justice, Office of the Attorney General, 45 Op. 0.L.C. 1:2021 OLC LEXIS 13 at 4
(Dec. 21, 2020); Also BOP Policy Statement 7320.01.

Should this Court modify. Defendant's sentence --with or without a term of
Supervised Release, Home Confinement and = GPS Monitoring (at. Defendant's
_expense)-- respect for the Jaw is maintained and Defendant's rehabilitative

opportunities are enhanced. OLC, Id. at 8; BOP Stmt., Id.

3. Kinds of sentences available.

Defendant's Sentence

Defendant pleaded guilty to four counts of Securities Fraud (Punishable by
0-20 years in prison) and United States Sentencing Guideline Recommendation:
Base Level 7; $25-65 Million Intended Loss +22; Mass Marketing +2; Acceptance Of
Responsibility -3; Total Offense Level 28; Criminal History Category I; USSG

Range 78-97 Months in Prison.

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‘On December 10, 2019, this Court accepted the terms of the plea agreement;
found no grounds for a variance; and, sentenced Defendant to the low end (31.6%)

of the guidelines -- 84 Months in Prison. (Sent. Tr., Pg. 67-68, 72-73).

Alternative Sentences Available

1. Actual Loss -- Actual Loss is the loss a victim

actually suffers. USSG 2B1.1 (Application Note 3).

This case produced no identifiable victims and no actual loss. Therefore,
properly calculated guidelines are: Base Level 7; Mass Marketing +23 Acceptance
of Responsibility -3; Total Offense Level 6; Criminal History Category I; USSG
Range 0-6 Months in Prison. A similar, low-end guidelines sentence would be
about 2 Months in Prison.

2. Intended Loss -- Intended Loss includes pecuniary harm a victim

never actually suffered. USSG 2B1.1 (Application Note 3).

In the absence of an actual loss, courts have historically allowed the
Government to recommend a sentencing enhancement for "Intended Loss". based on
(a) the Defendant's alleged "ill-gotten gains" or (b) the Government's
estimation of the fraud loss that could have been caused in furtherance of the
scheme -- including loss that "would have been impossible or unlikely to occur."

USSG 2B1.1 (Application Note 3).

(a) Intended Loss, based on Defendant's alleged ($2 Million) ill-gotten
gains would produce the following USSG Recommendation: Base Level 7; $2 Million
Intended Loss +16; Mass Marketing +2; Acceptance of Responsibility -3; Total
Offense Level 22; Criminal History Category I; USSG Range 41-51 Months in

Prison. A similar, low-end guidelines sentence is about 44 Months in Prison.

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‘(b) Intended Loss, based on the Government's estimation of the fraud loss
that could have materialized in furtherance of the scheme ($25-65 Million)
produced the following USSG Recommendation: Base Level 7; $25-65 Million
Intended Loss +22; Mass Marketing +2; Acceptance of Responsibility -3; Total

Offense Level 28; Criminal History Category I; USSG Range 78-97 Months in Prison.

Intended Loss v. Actual Loss

On November 30, 2022, The United States Court of Appeals For The Third
Circuit decided "that the loss enhancement in the guidelines application notes
impermissibly expands the word ‘loss’ to include both intended loss and actual
loss. Thus, the District Court erred when it applied the loss enhancement

because [the] crimes caused no actual loss." United States v. Banks, 2022 U.S.

App. LEXIS 33021 at 1-2 (3rd Cir., 2022).

Banks: In 2016, Banks was convicted of four counts of Wire Fraud and one

count of Aggravated Identity Theft. Banks's scheme was to fraudulently gain the

money and property of others to execute bogus FOREX.COM trades that would dump

money into bank accounts he had set up. Banks, Id. at 2.

At sentencing, the District Court imposed a 12-point sentencing enhancement
"because the attempted loss was greater than $250,000 ... Land] by his conduct,

[Banks] intended to cause such a loss[.]" Id. at 7-8. "The District Court

sentenced Banks to 104 Months’ imprisonment[.]" Id. at 8.

On Appeal (Nov. 2022), the Circuit Court held that "'loss’ in the
context of U.S.S.G. §2B1.1 is not ambiguous[;] vacate[d] the judgment of
sentence and remand[ed] this case so that the District Court [could] resentence

Banks without the intended-loss enhancement." Id. at 24

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‘Defendant's Case: In 2019, Defendant was convicted (by plea) of four counts

of Securities Fraud related to his participation in a scheme to manipulate the

stock of several public companies. (Sent. Tr., Pg. 15 and 68).

At sentencing, this Court acknowledged that restitution is not applicable
in this case; that there are no identifiable victims; and, that there is no
actual loss. (Sent. Tr., Pg. 15). In lieu of actual loss, the Government
estimated that a fraud loss of $25-65 Million could have been caused in
furtherance of the Defendant's scheme. This Court agreed and imposed a 22-point
"Intended Loss" sentencing enhancement pursuant to the written plea agreement.

(Plea Agreement, Pg. 7)(Sent. Tr., Pg. 67).

Defendant respectfully requests that this Court consider the Circuit
Court's holding in Banks, 2022 U.S. App. LEXIS 33021 (3rd Cir., 2022) and GRANT

Defendant a Sentencing Reduction that this Honorable Court deems appropriate.

4. USSG Sentencing Range

Defendant's USSG Sentencing Range was calculated pursuant to his plea
agreement (prior to Banks, (3rd Cir., 2022)) and included a 22-point "Intended
Loss" enhancement: Total Offense Level 28; Criminal History Category I; USSG

Range 78-97 Months in Prison.
5. USSC Policy Statement

The applicable Sentencing Commission Policy Statement referenced jin
§3582(c)(1)(A) is found at USSG §1B1.13. Reduction in Term of Imprisonment.

(November 01, 2023, Policy Statement).

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6. Need to avoid unwarranted sentencing disparities
among “similarly situated" defendants.

Reducing Defendant's term of imprisonment and imposing an alternative
sentence, with or without a term of supervised release or home confinement and
GPS monitoring, would not create an unwarranted sentencing disparity among
similarly situated defendants. See Banks, Id. at 1-2 and 24 (3rd Cir. 2022),

resentencing defendant "without the intended-loss enhancement." Id.

Safety of the Community

Defendant is convicted of a non-violent, white collar crime -- Securities
Fraud with no identifiable victims and no actual loss. (Sent. Tr., Pg. 15). This
Court acknowledged that this Defendant is not a risk to the safety of the

community because "it does not seem that the defendant is likely to commit

further crimes[.]" (Sent. Tr., Pg. 69).

18 U.S.C. §3582(c)(1)(A) - Other Reasons

1. First Step Act -- Application of Time Credits

Eligible prisoners earn 10 or 15 days per month FSA Credit for successful
participation on Evidence-Based Recidivism Reduction Programs (EBRR). Accrued
FSA Credits allow these prisoners to earn up to one year off of their sentence;
up to one year RRC/Halfway House; an unlimited amount of Home Confinement; and,

time off their Supervised Release.

Defendant is an “eligible prisoner" but is being denied application of his
earned (and accruing) FSA Time Credits because Defendant "may" be deported
following his term of imprisonment and because his sentence does not include a
term of supervised release. §523.44(a)(2) and (d)(2) -- Application of FSA Time

Credits.
11.

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Immigration Status

Inmates who are "[sJubject to a final order of removal under immigration
laws as defined in 8 U.S.C. 101(a)({17) (See 18 U.S.C. 3632(d)(4)(E)), [] may not
apply FSA Time Credits toward prerelease custody or early transfer to supervised

release." §523.44(a)(2) -- Application of FSA Time Credits.

Here, Defendant is a non-citizen (Canadian National) but he is not subject
to a “final order of removal" at this time. Therefore, Defendant is eligible for
normal application of his FSA Credits earned. Should Defendant's "removal"
status change, he is still entitled to use his accrued FSA Time Credits to

"speed up the process of deportation." See 18 U.S.C. §3632(d)(4)(E)(i) and (ii).

While "deportable prisoners are ineligible to apply time credits" towards
RRC or Home Confinement (Id. at (i)), “the Attorney General, in consultation
with the Secretary of Homeland Security, shall ensure that any alien described
in section 212 or 237 of the Immigration and Nationality Act ("INA"; 8 U.S.C.
1182; 1227) who seeks to earn time credits are subject to proceedings described
in section 238(a) of that Act (8 U.S.C. 1228(a)) at a date as early as

practicable during the prisoner's incarceration.” (Id. at (ii)).

Defendant is a qualified “alien” under INA criteria because Securities
Fraud is a crime of "Moral Turpitude" as defined in 8 U.S.C. §1182(2)(A)(i)(1).
Therefore, should Defendant become subject to a "final order of removal," he
must be made available “as early as practicable" in order to "speed up the

process of deportation.” 18 U.S.C. §3632(d)(4)(E)(ii) and 8 U.S.C. §1228(a).

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The language and congressional intent could not be clearer. By using the
phrase "any alien ... who seeks to earn. time credits ... shall [be made
available] as early as practicable" shows that Congress intended to accelerate
the deportation process for aliens in federal facilities who are participating

in EBRR Programs rather than to do so towards the very end of their sentences.

Term of Supervised Release

FSA Time Credits apply toward early transfer to supervised release under
18 U.S.C. §3624(g) only when "an eligible inmate has a term of supervised
release after imprisonment included as part of his [] sentence as imposed by the

sentencing courtl.]" §523.44(d)(2) -- Application of FSA Time Credits.

This Court chose not to impose a term of supervised release as part of
Defendant's sentence because he “is likely to be deported after imprisonment so
[] supervised release is not required by the statute." (Sent. Tr., Pg. 73). An
unforeseeable and additional consequence of this 2019 sentencing decision jis
that Defendant is now being denied application of his earned (and. accruing)

First Step Act Time Credits.

While the BOP has sole authority over the application of Defendant's FSA
Time Credits (Section 523.44(a)(2) and (d)(2), this Court has full. jurisdiction
over Defendant's Term of Imprisonment and whether he deserves consideration for
Compassionate Release or a Sentencing Modification that includes a term of
Supervised Release. 18 U.S.C. §3582(c)(1)(A). In a similar case, the district
court GRANTED a Sentencing Modification, adding a "Term of Supervised Release,”
so that a Romanian Citizen (subject to an "ICE" detainer but not a final order

of removal) could benefit from his earned FSA Time Credits. United States v.

Adrian Tiberiu Oprea, 2023 U.S. Dist. LEXIS 188648 (D. N.H. Oct. 20, 2023).

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Defendant respectfully requests that this Court exercise its discretion to
impose a Term of Supervised Release (with reporting requirements (remanded to
the United States) or without reporting requirements (deported to Canada)) so
that his FSA Credits are properly applied; or, in the alternative, reduce his
sentence to reflect the number of First Step Act Credits he has earned and/or is

projected to earn over his full term of imprisonment.

2. COVID-19 + Conditions of Confinement

The onset of COVID was six months after Defendant was sentenced. As a
result, Defendant has endured harsher terms of confinement than this Court
intended. Defendant was sentenced to a low-security prison operating under
normal conditions. Instead, Defendant was subjected to "super-max-like"
confinement -- 24-hour lock-downs with no’ hot meals and limited access to
facilities, phone, visits or religious services. While COVID-related
restrictions may not independently constitute an extraordinary and compelling
reason for compassionate release, this Court can consider the fact that COVID-
related hardships ‘undoubtedly increasel a] prison sentence's punitive effect"
and "exactL] a price on a prisoner beyond that imposed by an ordinary day in
prison" and, therefore, “weigh in favor of sentencing reduction[.]"

United States v. Amerson, 2023 U.S. Dist. LEXIS 120004 (E.D.N.Y. July 12, 2023).

3. Defendant's Reentry Plan

Defendant, if deported, will reside with his parents at 1203 Saginaw
Crescent, Mississauga, Ontario, Canada, L5H3W4; Phone: (416) 558-1795; and, will
resume his position (V.P. of Operations) at DNR Technologies. Defendant, if
remanded to the United States, will obtain probation approved U.S. housing and

employment. Also, resume working remotely for DNR Technologies.

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Whether Defendant is deported to Canada or remanded to the United States,

his ability to earn an income and meet his rehabilitative obligations will be
immediately restored. Should this Court GRANT Defendant a sentencing reduction
or modification that includes a term of supervised release, home confinement, or
GPS monitoring, Defendant agrees to pay the costs related to his home
confinement (last reported to average $55.26 per day -- DOJ report ‘Home
Confinement Under The CARES Act" (88 FR 19830, April 04, 2020)) and make best

efforts to fulfill his $2 Million Forfeiture obligation.

18 U.S.C. §3582(c)(2) - Sentencing Range Subsequently Lowered

1. 2023 Retroactive Criminal History Amendments;

PART B -- Zero-Point-Offenders

On August 24, 2023, the United States Sentencing Commission voted to make
PART A and PART B of the 2023 Criminal History Amendments retroactive. Pertinent
here, PART B of the Criminal History Amendments provides a two-level reduction
of the offense level for "Zero-Point-Offenders" who meet the 10 criteria listed
in the New Chapter Four Guideline at §4C1.1: (1) No Criminal History Points;
(2) No 3A1.4 (Terrorism) Adjustment; (3) No Use or Threat of Violence; (4) No
Offense Resulting in Death or Serious Bodily Injury; (5) No Sex Offense; (6) No
Substantial Financial Hardship; (7) No Dangerous Weapon; (8) No 2H1.1
(Individual Rights) Offense; (9) No 3A1.1 (Hate Crime or Vulnerable Victims) or
3A1.5 (Serious Human Rights) Adjustment; and, (10) No 3B1.1 (Aggravating Ro11)

Adjustment and no Continuing Criminal Enterprise Under 21 U.S.C. 484.

Defendant is a qualified "Zero-Point-Offender" and is eligible to be
considered for a two-level reduction in his offense level. This adjustment would

reduce Defendant's United States Sentencing Guideline Recommendation § from

Level 28 (78-97 Months in Prison) to Level 26 (63-78 Months in Prison).

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This Court sentenced Defendant to 84 Months in Prison and stated that the
Defendant could appeal his sentence "if the sentence imposed is a sentence above
the sentencing guideline range." (Sent. Tr., Pg. 75). Defendant requests that
this Court consider his "Zero-Point-Offender" statue; reduce his Total Offense
Level to 26 (63-78 Months in Prison); and, impose a similar low-end guidelines

sentence of 68 Months in Prison.
SUMMARY
Based on the following facts:

1. On December 10, 2019, Defendant was sentenced to 84 Months jin
Prison pursuant to USSG Recommendations that included a 22-Point
enhancement for "Intended Loss;"

2. On November 30, 2022, The Third Circuit Court of Appeals decided
that it is err to apply the loss enhancement when there is no
finding of "Actual Loss." Banks, Id. at 1-2 and 24-(3rd. Cir.);

3. Defendant's crime produced No Actual Loss;

4. Defendant's erroneously enhanced USSG Recommendation exposed him
to Total Offense Level 28; USSG Range 78-97 Months in Prison
rather than Total Offense Level 06; USSG Range 0-6 Months jin
Prison;

5. On August 24, 2023, PART B of The 2023 Criminal History Amendment
was made retroactive and gave qualified "Zero-Point-Offenders" a
-2 Total Offense Level Reduction;

6. Defendant qualifies for the two-level reduction, which reduces
his 2019 USSG Recommendation: Total Offense Level 26; USSG Range
63-78 Months in Prison; and, Post-Banks, Total Offense Level 04;
0-6 Months in Prison;

7. As of November 10, 2023, Defendant has been in prison 47 Months
and has a projected release date of July 22, 2025 (649 days).
EXHIBIT A-1; Individual Needs Plan - Program Review, 10-01-2023.

8. As of November 10, 2023, Defendant has earned 655 days FSA Credit

which, if applied, would qualify him for immediate release.
EXHIBIT B-2; FSA Time Credit Assessment, 10-06-2023.

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Defendant believes he is a viable candidate for a sentencing modification under
18 U.S.C. §3582(c)(1)(A) for "Extraordinary and Compelling" reasons and/or under

(c)(2) because his "sentencing range [] has subsequently been lowered by the

Sentencing Commission." Id.

THIS MOTION IS PROPERLY FILED

18 U.S.C. §3582(c)(1)(A) allows a prisoner to seek relief in federal court
thirty days from the wardens receipt of that prisoner's compassionate release

request (EXHIBIT C - Defendant's request to warden, October 02, 2023), even if

the warden responded within thirty days and even if the prisoner fails to pursue

available administrative appeals. United States v. Harris, 2020 U.S. App. LEXIS

27651, at *le(3rd. Cir. July 20, 2020).
CONCLUSION

For the foregoing reasons, Defendant prays that this Court (1) GRANT his
request for sentencing modification under §3582(c)(1)(A); (2) Reduce his
sentence to "Time Served" based on this Court's discretion, the Third Circuit
Court's decision in Banks, and/or consideration of Defendant's 655 days FSA Time
Credits earned; or, in the alternative, (3) Reduce his sentence to 68 months
pursuant to his "Zero-Point-Offender" status, -2 Total Offense Level, and
similar low-end guidelines sentence. Also, any other relief that this Court

deems appropriate in the interest of justice.

Sincerely Submitted,

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EXHIBIT A-1
Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 02126755
Dept. of Justice / Federal Bureau of Prisons Team Date: 10-01-2023
Plan is for inmate: PAOLUCCI, DINO 42735-479
Facility: ELK ELKTON FCI Proj. Rel. Date: 07-22-2025
Name: PAOLUCCI, DINO Proj. Rel. Mthd: GOOD CONDUCT TIME
RegisterNo.: 42735-479 DNA Status: HOU30327 / 08-23-2018
Age: 46
Date of Birth: 08-21-1977
Detainers
[Detaining Agency Remarks
ICE DEPORTATION, A205 974 436, CANADA
Current Work Assignments
[Facl Assignment Description ~ Start
ELK TMP UNT WAITING JOB IF MEDICALLY CLEAR 04-14-2022
Current Education information
[Fact Assignment Description Start
ELK ESL HAS ENGLISH PROFICIENT 03-26-2020
ELK GED HAS COMPLETED GED OR HS DIPLOMA 03-26-2020
Education Courses
[SubFacl Action Description : Start Stop
ELK c AIDS AWARENESS-RPP<HN> 04-14-2022 04-14-2022
Discipline History (Last 6 months)
[Hearing Date Prohibited Acts

** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

Current Care Assignments

[Assignment Description Start
CARE1-MH CARE1-MENTAL HEALTH 09-14-2018
CARE2 STABLE, CHRONIC CARE 04-04-2023
Current Medical Duty Status Assignments

[Assignment Description Start
C19-T NEG COVID-19 TEST-RESULTS NEGATIVE 04-12-2022
REG DUTY NO MEDICAL RESTR--REGULAR DUTY 04-20-2022
YES F/S CLEARED FOR FOOD SERVICE 04-20-2022
Current Drug Assignments

(Assignment Description Start

ED COMP DRUG EDUCATION COMPLETE 08-09-2022

FRP Payment Plan

[Most Recent Payment Plan

FRP Assignment: COMPLT FINANC RESP-COMPLETED Start: 05-12-2022
Inmate Decision: AGREED $205.00 Frequency: SINGLE
Payments past 6 months: $0.00 Obligation Balance: $0.00

Financial Obligations

iNo. Type Amount Balance Payable Status

4 ASSMT $400.00 $0.00 IMMEDIATE COMPLETEDZ

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

FRP Deposits

Trust Fund Deposits - Past 6 months: $915.00 Payments commensurate ? N/A
New Payment Plan: ** No data **

Current FSA Assignments

[Assignment Description Start

Sentry Data as of 09-28-2023 Individualized Needs Plan - Program Review (inmate Copy) Page 1 of 3

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' Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 02126755
Dept. of Justice / Federal Bureau of Prisons Team Date: 10-01-2023
z Plan is for inmate: PAOLUCCI, DINO 42735~-479
[Assignment Description Start
FTC ELIG FTC-ELIGIBLE - REVIEWED 01-23-2023
N-ANGER N NEED - ANGER/HOSTILITY NO 09-25-2023
N-ANTISO N NEED - ANTISOCIAL PEERS NO 09-25-2023
N-COGNTV N NEED - COGNITIONS NO 09-25-2023
N-DYSLEX N NEED - DYSLEXIA NO 04-14-2022
N-EDUC N NEED - EDUCATION NO 09-25-2023
N-FIN PV N NEED - FINANCE/POVERTY NO 09-25-2023
N-FM/PAR N NEED - FAMILY/PARENTING NO 09-25-2023
N-M HLTH N NEED - MENTAL HEALTH NO 09-25-2023
N-MEDICL Y NEED - MEDICAL YES 09-25-2023
N-RLF Y NEED - REC/LEISURE/FITNESS YES 09-25-2023
N-SUB ABN NEED - SUBSTANCE ABUSE NO 09-25-2023
N-TRAUMA Y NEED - TRAUMA YES 09-25-2023
N-WORK N NEED - WORK NO 09-25-2023
R-LW LOW RISK RECIDIVISM LEVEL 09-25-2023

Progress since last review

Paolucci has not participated in any programs.

Next Program Review Goals

Enroll in the Non-Residential Drug Abuse Program, Enroll in the Arthritis Foundation Walking course.

Long Term Goals

Complete the Resume course and develop a resume and cover letter prior to July 2025, with the assistance of the Employment Resource Center to help
seek employment upon release.

RRC/HC Placement

No.

Criminal alien releasing to custody of ICE.

Consideration has been given for Five Factor Review (Second Chance Act):
- Facility Resources : N/A

- Offense : Securities Fraud, 84 months.

- Prisoner : 1-26-21 - Refusing to Obey an Order, Code 307.

- Court Statement : N/A

- Sentencing Commission : N/A

Inmate is scheduled to be deported to Canada upon release.

Comments

Treaty Transfer: Eligible and interested.
ITTCA : Denied by US, 07-01-2020

Sentry Data as of 09-28-2023 individualized Needs Plan - Program Review . (Inmate Copy) Page 2 of 3

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Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 02126755

Dept. of Justice / Federal Bureau of Prisons Team Date: 10-01-2023
Plan is for inmate: PAOLUCCI, DINO 42735-47939

Name: PAOLUCCI, DINO DNA Status: HOU30327 / 08-23-2018
Register No.: 42735-479
Age: 46

Date of Birth: 08-21-1977

Inmate (PAOLUCCI, DINO. Register No.: 42735-479)

Date

Unit Manager / Chairperson Case Manager

Date Date

Individualized Needs Plan - Program Review (Inmate Copy) Page 3 of 3

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FSA Time Credit Assessment

EXHIBIT B-1

‘ Register Number:42735-479, Last Name: PAOLUCCI

U.S. DEPARTMENT OF JUSTICE

FEDERAL BUREAU OF PRISONS

Register Number....: 42735-479 Responsible Facility: ELK
Inmate Name Assessment Date.....: 10-06-2023
Last......-+++..++: PAOLUCCI Period Start/Stop...: 02-07-2020 to 10-06-2023
Firsts... cece eet DINO Accrued Pgm Days....: 1318
Middle,..........3 Disallowed Pgm Days.: 19
Suffix..........03 FTC Towards RRC/HC..: 615
Gender... creer eeee MALE FTC Towards Release.: 0
Start Incarceration: 12-10-2019 Apply FTC to Release: No
Start Stop Pgm Status Pgm Days
02-07-2020 10-06-2023 accrue 1318
Cannot apply FIC
No Term Suprv: Yes
Start Stop Pgm Status Pgm Days
02-07-2020 09-02-2020. accrue 208
Accrued Pgm Days...: 208
Carry Over Pgm Days: 0
Time Credit Factor.: 10
Time Credits.......3 60 -
Start Stop Pgm Status Pgm Days
09-02-2020 03-04-2021 accrue 183
Accrued Pgm Days...: 183
Carry Over Pgm Days: 28
Time Credit Factor.: 15
Time Credits.......: 105
Start Stop Pgm Status Pgm Days
03-04-2021 03-23-2021 disallow 19

Not in qualifying admit status

Facility Category Assignment Start Stop
I-T ARS ' RELEASE 02-07-2020 1613 02-07-2020 1613
NLK ARS TRANSFER 03-03-2021 0833 03-03-2021 0833
9-E ARS A-ADMIT 03-03-2021 0833 03-03-2021 1718
OKL ARS A-BOP HLD 03-03-2021 1618 03-23-2021 0407
9-E ARS RELEASE 03-03-2021 1718 °©03-03-2021 1718

Start’ Stop Pgm Status Pgm Days

03-23-2021 10-06-2023 accrue 927

Accrued Pgm Days...: 927

Assessment Date: 10-06-2023

(1)

Assessment# -2146098340

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FSA Time Credit Assessment
Register Number: 42735~-479, Last Name: PAOLUCCI

U.S. DEPARTMENT OF JUSTICE

Carry Over Pgm Days: 1

Time Credit Factor.:

Time Credits

FSA Assessment

Start

02-07-2020
03-06-2020
09-02-2020
03-01-2021
08-28-2021
02-24-2022
08-23-2022
02-19-2023
08-18~2023

eee ee ae

Stop

03-06-2020
09-02-2020
03-01-2021
08-28-2021
02-24-2022
08-23-2022
02-19-2023
08-18-2023
02-14-2024

Status
ACTUAL
ACTUAL
ACTUAL
ACTUAL
ACTUAL
ACTUAL
ACTUAL
ACTUAL
ACTUAL

EXHIBIT B-2

FEDERAL BUREAU OF PRISONS

Risk Assignment Risk Asn Start

FSA
FSA
FSA
FSA
FSA
FSA
FSA
FSA
FSA

R-LW
R-LW
R-LW
R-LW
R-LW
R-LW
R-LW
R-LW
R-LW

04-28-2021
04-28-2021
04-28-2021
04-28-2021
04-28-2021
10-04-2021
04-27-2022
10-18-2022
04-05-2023

1559
1559
1559
1559
1559
1434
0721
1052
1038

Factor

10 X 1 mo = 10
10 xX 6 mo = 60
15° xX 6 mo = 90
15 x 6 mo = 90
15 xX-6 mo = 90
15 x 6 mo = 90
15 x 6 md.= 90
15 x 6 mo = 90
15 xX-3 mo = 45

Total 655 Days Cr

Assessment Date: 10-06-2023

(2)

Assessment# ~2146098340

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EXHIBIT C-1
Dino Paolucci, ID# 42735~-479
Federal Correctional Institution
P.O. BOX 10 + Lisbon, OH. 44432
October 02, 2023

Submitted To: Submitted By:
I. Healy, Warden Dino Paolucci
FCI-Elkton Case No. 2:16-CR-00503-ER-1
Lisbon, OH. 44432 United States v. Paolucci

Request For Compassionate Release To Home Confinement Pursuant .To
18 USC §3582(c)(1){A)(i) For “Extraordinary and Compelling Reasons;"
: ~OR-
Request For Release To Home Confinement Pursuant To
18 USC §3624(c)(2) of The Second Chance Act.

Dear Warden,

I, Dino Paolucci, request: (1) Compassionate Release into Home Confinement
pursuant to 18 USC §3582(c)(1)(A)(i) for “Extraordinary and Compelling" reasons;
or, in the alternative, (2) Release into Home Confinement pursuant to The Second
Chance Act, 18 USC §3624(c)(2).

1. “Compassionate Release" To Home Confinement Pursuant To 18 U.S.C.
§3582(c)(1)(A) For “Extraordinary and Compelling Reasons.

The BOP has sole authority over a convicted person's Place of Imprisonment
(Section 3621(a) and (b)) and may release a prisoner from a "secured custody
facility" into Home Confinement if it finds one or more "Extraordinary and
Compelling" reasons for compassionate release. 18 USC §3582(c)(1)(A)(i).

Prior to 2018, "Extraordinary and Compelling". reasons for compassionate
release were limited to offenders who are elderly; terminally il]; or, unable to
perform self-care. That is no longer the case. In 2018, the First Step Act was
passed and the BOP was. given significant discretion to determine what qualifies
as an “Extraordinary and Compelling" reason for a person's release into Home
Confinement.

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EXHIBIT C~-2

"The BOP's expanded authority to decide what qualifies as “Extraordinary and
Compelling" allows it to consider the Nature and Circumstances of the offense;
the History and Characteristics of the offender; the Resources of the Facility
in which the offender is housed; and, any other factor(s) it deems in the best
interest of the offender or the facility in which the offender is housed.

In sum:

(1) The First Step Act directs that the BOP "shall, to the extent possible,
place prisoners with lower risk levels and lower needs on home confinement
for the maximum amount of time permitted." See, U.S. DOJ, Office of the
Attorney General, 45 OP. O.L.C. LEXIS 13 at Pg. 4.

(2) The BOP has agreed that "Congress's expansion of home confinement. in recent
years demonstrates that ‘the use of incarceration is being re-evaluated as
compared to the social benefits of non-custodial rehabilitative programs.
The BOP also ... notes that exercising discretion: will allow the Bureau to
‘manage its resources in an efficient manner that considers both public
safety and the needs of the individual offender.'" Id. OLC LEXIS 13, Pg. 4.

(3) The Attorney General agrees with the BOP's Program Statement on Home
Confinement which describes it as "a time of testing and an opportunity for
inmates to assume increasing. levels of personal responsibility while
providing sufficient restriction to promote community safety and. continue
the sanction on the sentence." Id. OLC LEXIS 13, Pg. 8

My personal background and the facts of my case, coupled with my need for
"non-custodial rehabilitation," fit the criteria the Congress, Attorney General
Barr, and the BOP had in mind when they determined to increase the use of "Home
Confinement" and expand what qualifies as an “Extraordinary and Compelling"
reason for Compassionate Release pursuant to 18 USC §3582(c){1)(A)(i).

REASONS TO GRANT COMPASSIONATE RELEASE OR COME CONFINEMENT

Nature and Circumstances of the Offense

In. December, 2019, I pleaded Guilty to Securities Fraud. The Court
sentenced me to eighty-four months in prison; ZERO. Restitution; and No
Supervised Release.

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EXHIBIT C-3

From 2012 through 2013, I participated in a scheme to manipulate the stock
of several public companies. While that scheme involved a significant amount of

money and could have undermined the public confidence in our’ financial
institutions, it produced "No Actual Victims" and "No Actual Loss." As a result,
there is no Order of Restitution. Instead, I was sentenced based on an
"Estimated $25 Million ‘Intended Loss'" and ordered to forfeit an “Estimated
$2 Million 'I11-Gotten Gains." I do not deny the seriousness of my offense, to
which I Pleaded Guilty and Accepted Responsibility.

History and Characteristics of the Offender

I was born August 21, 1977, and credit my parents with providing a. loving
home; regular family vacations; Catholic upbringing; access to school and
sports; and, introduction to business.

Considering my mostly privileged life, I have no excuses for my offense
conduct and current incarceration. That said, I have been humbled by this
experience and pray that I be considered for Compassionate Release and/or Home
Confinement based the the factors outlined hereafter.

First Step Act -- Application of Time Credits

I am being denied application of my earned (and accruing) FSA Time Credits
because the Court failed to impose a Term of Supervised Release on my sentence.
In the alternative to "First Step Act Credit" application, I request the BOP use.
its expanded discretion to change my "Place of Imprisonment" to Home Confinement
and to reflect the number of days I have earned in Good Conduct Time and First
Step Act Credits accrued.

Term of Supervised Release

The Court failed to impose a term of Supervised Release in my case because
I am Canadian citizen and "may be deported" following my term of imprisonment; "
And, therefore, a term of supervised release is not "required."

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EXHIBIT C-4

In my case, a term of supervised release is discretionary and may be
imposed with reporting requirements. (remanded to the United States) or without
reporting requirements (deported to Canada).

Immigration Status

I am not subject to a “Final Removal Order" at this time. However, should
my status change, I am still entitled to use my accrued FSA Time Credits to
"speed up the process of deportation." See 18 USC $3632(d)(4)(E)(i) and (ii).

While "“deportable prisoners are ineligible to apply time credits" towards
RRC or Home Confinement (Id. at (i)), "the Attorney General, in consultation
with the Secretary of Homeland Security, shall ensure that any alien described
in section 212 or 237 of the Immigration and Nationality Act ("INA"; 8 U.S.C.
1182; 1227) who seeks to earn time credits are subject to proceedings described
in section 238(a) of that Act (8 U.S.C. 1228(a)) at a date as early as
practicable during the prisoner's incarceration." (Id. at (ii)).

I am a qualified “alien” under INA criteria because my offense conduct
(Securities Fraud) is a crime off "moral turpitude" as defined in 8 U.S.C.
§1182(2)(A)(i)(1) and as classified by The United States Department of Foreign
Affairs Manual. Therefore, should I become subject to a deportation proceeding,
I must be available to participate in that proceeding “as early as practicable"

into my incarceration. 8 U.S.C. §1228(a)).

The language and congressional intent could not be clearer. Congress
intended to accelerate the deportation process for aliens in federal facilities
who are participating in EBRR Programs rather than do so towards the very end of
their sentences.

The law is clear, by using the phrase “any alien ... who seeks to earn,"
that these aliens do not actually have to complete a certain amount of programs
for this subsection to be applicable to them. The phrase “as early as
practicable" and the use of the word "shall" does not provide the BOP any
authority to delay a deportation proceeding or deny the application of this
subsection.

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EXHIBIT C~-5

COVID-19 + Conditions of Confinement

The onset of COVID came six months after I was sentenced. Therefore, I have
endured “harsher terms of confinement" than the sentencing court intended. I was
sentenced to a low-security prison operating under normal conditions. Instead,
my imprisonment has included: COVID-related lockdowns and "Super-Max-Like"
confinement; 24-hour cell confinement with no hot meals; limited access to
bathroom and shower facilities; limited access to the legal library and
education, e-mail, phone, visits, commissary, recreation and religious services.
While COVID-related restrictions may not independently constitute and
extraordinary and compelling reason to GRANT Home Confinement, myriad courts and
the BOP have agreed that COVID-related. hardships have “undoubtedly increased [a]

prison sentence's punitive effect" and “exacts a price on a prisoner beyond that
~ imposed by an ordinary day in prison" and, therefore, "weigh in favor of" home
confinement or compassionate release.

Sentences Available

While the BOP lacks authority to reduce a prison sentence, it can consider
a prisoner's term of incarceration and “any other factors" is deems appropriate,
when it determines a prisoner's "Place of Imprisonment," and whether that
prisoner qualifies for compassionate release or home confinement.

Intended Loss v. Actual Loss: INthis case, there was no Actual Loss so the
Court decided to impose a sentencing enhancement on "Intended" and "Estimated"
Loss. This subjective enhancement exposed me to.78-97 months in prison rather
than a possible sentence of Zero months in prison. I ask the BOP to consider’
this fact when deciding if I qualify for a term of Home Confinement equal to my
accrued First Step Act Credits.

2023 Retroactive Criminal History Amendments: In 2023, the United States
Sentencing Commission made Zero Point Offenders’ (-2 Criminal History Points)
Sentencing Guidelines retroactive. I am a zero-point-offender and this USSG
change would have exposed me to 63-78 months in prison. I ask that the BOP
consider this fact as it determines whether I qualify for compassionate release
or home confinement equal to my accrued First Step Act Credits.

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EXHIBIT C-6

Second Chance Act- 18 USC §3624(c)(2)

While the BOP has no authority to modify a prisoner's sentence (that
jurisdiction lies with the sentencing court), the BOP has sole authority over a
convicted person's "Place of Imprisonment." 18 USC §3621. the first sentence of
the Second Chance Act, §3624(c)(2) provides: "The authority under this
subsection may be used to place a prisoner in home confinement for the shorter
of 10 percent of the term of imprisonment of that prisoner or 6 months." In this
case, I am eligible for at least 6 months Home Confinement.

Safety of the Community

I have no history of violence and, in this case, I am convicted of a non-
violent, white collar, crime with no identifyable victims and no actual loss.

While the court deemed my crime "serious" due to the amount of money involved,
it conceded that I am not a risk to the community and that “the fact of
imprisonment is as important and perhaps more important as the Jength of
imprisonment. Moreover, my release into Home Confinement, which could include
GPS Monitoring and Supervised Release, will provide “sufficient restriction to
promote public safety and continue the sanction of the sentence." Id. OLC LEXIS
13, Pg. 8; BOP Statement No. 7320.01.

Considering all reasons herein, I request the BOP exercise its sole
authority over my "Place of Confinement" and GRANT me immediate release into
Home Confinement; or, in the alternative, GRANT Home Confinement, at the
earliest date possible and according to the Second Chance Act.

Sincerely Submitted,

Dino Paolucci, ID# 427735-479

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~ MIMI

so22 2410 OO02 2469 2386

42735-4790
District Court
Room 2609
601 Market ST
Phila, PA 19106-1729
United States

dict elllontot ll
